       Case 1:13-cr-00485-CM Document 34 Filed 02/10/17 Page 1 of 1




                                  February 10, 2017

By Ecf
Honorable Colleen McMahon
United States District Judge
Southern District of New York
500 Pearl Street
New York, New York 10007

Re:   United States v. Faouzi Jaber
      13 Cr. 485 (CM)

Hon. Judge McMahon:

     With consent of the government, I seek a 30-day adjournment
of the motion schedule in this case. I do apologize for the
lateness of this request; defense motions were due today. If
granted, defense motions would be due March 13, 2017. The
government’s response would be due April 3, 2017 and my reply
due on April 13, 2017.

     To that end, I request that the time be till April 13,
2017, be excluded under the Speedy Trial Act, pursuant to Title
18, United States Code, section 3161(h)(7)(A), as motions are
pending, and because excluding time will best serve the ends of
justice and outweigh the best interests of the public and the
defendant in a speedy trial, as it will allow the parties to
continue plea discussions.

     Again, I do apologize to the Court for the lateness of this
request. Thank you.

                                  Respectfully submitted,

                                  /s/
                                  Sabrina P. Shroff
                                  Assistant Federal Defender


cc: George Turner, AUSA
&   Mr. Faouzi Jaber
